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                     Exhibit 1
                    Case 2:24-cr-00091-ODW                             Document 54-1 Filed 03/12/24                                Page 2 of 3 Page ID
                                                                                #:999
         MAYOR                                                                                                                                     INTERIM CITY MANAGER
           Valerie Amezcua                                                                                                                                       Tom Hatch
         MAYOR PRO TEM                                                                                                                                    CITY ATTORNEY
           Thai Viet Phan                                                                                                                                 Sonia R. Carvalho
         COUNCILMEMBERS                                                                                                                                       CITY CLERK
           Phil Bacerra                                                                                                                                      Jennifer L. Hall
           Johnathan Ryan Hernandez
           Jessie Lopez
           David Penaloza

                                                                CITY OF SANTA ANA
           Benjamin Vazquez


                                                                          POLICE DEPARTMENT
                                                                     60 Civic Center Plaza ● P.O. Box 1981
                                                                          Santa Ana, California 92702
                                                                             www.santa-ana.org/PD




                   March 11, 2024

                   Derek E. Hines
                   Senior Assistant Special Counsel
                   U.S. Department of Justice
                   CC: Kith Richard

                   I have been requested to provide a detailed overview of the medical process for inmates
                   at the Santa Ana Jail, with a specific focus on inmate Smirnov.

                   Santa Ana Jail medical procedure:
                   All new intakes undergo a medical screening upon arrival. As part of the classification
                   process, inmates receive a Santa Ana Jail inmate handbook that includes instructions
                   on how to request medical services while in custody. The inmate acknowledges receipt
                   of the handbook by signing a form during the classification process. Once housed,
                   inmates have access to medical request forms and can submit them as necessary.
                   When an inmate submits a medical request, it will be reviewed by our medical team.

                   The process includes the following steps:

                         -    The medical team will assess the inmate's condition and address any immediate
                              concerns.
                         -    If the necessary treatment can be provided within our facility, it will be
                              administered accordingly.
                         -    In the event that the inmate requires specialized treatment, a USM PMR form will
                              be filled out and submitted to the US Marshals office for approval.
                         -    If the request is approved, our medical department will schedule an appointment
                              with the specialist. Transportation arrangements will also be made through the
                              US Marshals office.




                                                                               SANTA ANA CITY COUNCIL
   Valerie Amezcua                   Jessie Lopez           Thai Viet Phan          Benjamin Vazquez           Phil Bacerra            Johnathan Ryan Hernandez        David Penaloza
        Mayor                  Mayor Pro Tem, Ward 3           Ward 1                    Ward 2                   Ward 4                        Ward 5                     Ward 6
vamezcua@santa-ana.org       jessielopez@santa-ana.org   tphan@santa-ana.org     bvazquez@santa-ana.org   pbacerra@santa-ana.org    jryanhernandez@santa-ana.org   dpenaloza@santa-ana.org
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                                                               #:1000



       Inmate Smirnov was booked into the Santa Ana Jail on 02/28/2024. Since his arrival,
       Mr. Smirnov has submitted six medical request forms and has been evaluated by
       Wellpath medical staff. See attached document. His complete medical records will be
       forwarded in a separate email once received from Wellpath.

       Should you have any questions regarding this response, kindly contact Jaime Manriquez at
       714-245-8123 or email jmanriquez@santa-ana.org

       Sincerely,

       Robert Rodriguez
       Acting-Chief of Police



       Jaime Manriquez
       Jail Administrator
       Santa Ana Police Department




                                                              SANTA ANA CITY COUNCIL
   Valerie Amezcua               Jessie Lopez           Thai Viet Phan        Benjamin Vazquez           Phil Bacerra           Johnathan Ryan Hernandez        David Penalo
        Mayor              Mayor Pro Tem, Ward 3           Ward 1                  Ward 2                   Ward 4                       Ward 5                     Ward 6
vamezcua@santa-ana.org   jessielopez@santa-ana.org   tphan@santa-ana.org   bvazquez@santa-ana.org   pbacerra@santa-ana.org   jryanhernandez@santa-ana.org   dpenaloza@santa-
